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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                           Crim. No. 3-95-71(1) (RHK)
                                                    Civ. No. 98-1255 (RHK)
                     Plaintiff,                     ORDER

v.

Kenneth Wendell Jones,

                     Defendant.



         This matter is before the Court on the Motion of Defendant Kenneth Wendell

Jones to reopen this Court’s November 30, 1998, Judgment denying Jones’ motion under

28 U.S.C. § 2255 to vacate his conviction. The present Motion is nominally brought

pursuant to Federal Rule of Civil Procedure 60(d)(3). The Government contends it is in

reality a second § 2255 Motion that Jones has filed without first obtaining authorization

from the Eighth Circuit Court of Appeals. The Court agrees and will therefore dismiss

the Motion for lack of jurisdiction.

                              FACTUAL BACKGROUND

         Defendant Kenneth Wendell Jones was convicted after a jury trial in November

1995 of murder in connection with a continuing criminal enterprise (CCE), engaging in a

continuing criminal enterprise, and conspiracy to distribute cocaine. His conviction and

sentence were affirmed on direct appeal. United States v. Jones, 101 F.3d 1263 (8th Cir.

1996).
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       In 1998, Jones filed a § 2255 motion challenging his conviction on the grounds

that the confession of his co-defendant Jeffrey Barnes allegedly was not properly

redacted at their joint trial to eliminate any reference to Jones; that the evidence in

support of his CCE murder conviction was insufficient; and that newly discovered

evidence (unspecified in the petition) warranted a new trial.

       In an Order dated November 30, 1998, this Court denied Jones’ § 2255 motion in

all respects. On September 22, 1999, the Eighth Circuit affirmed this Court’s denial of a

certificate of appealability.

       Now, more than 18 years after this Court’s denial of Jones’ § 2255 motion, Jones

seeks to re-open that judgment pursuant to Federal Rule of Civil Procedure 60(d)(3),

based primarily on evidence he claims was discovered in 2009. Specifically, he relies

mainly on a 2009 interview of Government witness Russell Barnes in which Barnes

partially recants his trial testimony.

                                         DISCUSSION

       A defendant may not file a second or successive motion under 28 U.S.C. § 2255

unless he obtains authorization from the appropriate circuit court of appeals. In order to

obtain authorization, the defendant must make a prima facie showing that his proposed

motion satisfies one of the gatekeeping requirements set forth in § 2255(h). That statute

provides:

       A second or successive motion must be certified as provided in § 2244 by a
       panel of the appropriate court of appeals to contain --
       (1) newly discovered evidence that, if proven and viewed in light of the
           evidence as a whole, would be sufficient to establish by clear and
           convincing evidence that no reasonable fact finder would have found
           the movant guilty of the offense; or
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       (2) a new rule of constitutional law, made retroactive to cases on
           collateral review by the Supreme Court, that was previously
           unavailable.

28 U.S.C. § 2255(h).

       Although Jones styles his pleading as a Rule 60(d)(3) Motion rather than a second

§ 2255 Motion, his label is not controlling. Rather, it is the nature of the relief requested,

not the caption of the pleading, that determines whether it is to be treated as a second or

successive § 2255 Motion. Gutierrez v. United States, Crim. No. 01-331, 2013 WL

3380313 at *2 (D. Minn. July 8, 2013) (Montgomery, J.) (citing cases). If the motion is

an attack on the validity of the underlying conviction, or an attempt to relitigate issues

that were or could have been raised in earlier proceedings, it will be deemed to be a

§ 2255 motion regardless of its caption. Id.

       Here, the Court finds that Jones is continuing to attack his underlying CCE murder

conviction on the ground that he allegedly was not involved in Duon Walker’s murder, as

well as the subsidiary ground that the murder was not drug related. Doc. No. 238 at 6,

10, 12-18. He is offering newly discovered evidence to try to make his case, which

implicates the first prong of the test for a second § 2255 motion set forth above.

Moreover, he is attempting “to re-litigate issues he raised or could have raised on direct

appeal and in his initial § 2255 motion,” Gutierrez, 2013 WL 3380313 at *2, which is

another hallmark of a second § 2255 motion. Specifically, in his initial § 2255 motion,

Jones likewise relied on newly discovered (albeit unspecified) evidence that he was not

guilty of Walker’s murder. He does not explain in his present Motion, why, if Russell

Barnes’ trial testimony was inaccurate, he could not have obtained the recantation from

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Russell Barnes in time for inclusion in his initial § 2255 motion. Thus, the nature of the

relief Jones seeks, and his attempt to re-litigate issues that were or could have been raised

in an initial § 2255 motion, both are reasons the present Motion must be deemed a second

§ 2255 Motion. Id. (citing cases).

       Jones responds that he is only challenging this Court’s judgment denying his

§ 2255 motion, not the conviction itself. The Court finds this argument to be a distinction

without a difference.    The purpose of Jones’ § 2255 motion was to challenge his

conviction. By attacking this Court’s denial of that § 2255 motion, Jones is essentially

attacking the validity of his conviction itself. If a defendant could serially challenge his

conviction in the guise of challenging the judgment denying a prior § 2255 motion, the

rule against a defendant filing second or successive § 2255 motions without prior

authorization from the Court of Appeals would become a nullity. 1

       Based on the foregoing, IT IS ORDERED that Jones’ Motion to Reopen

Judgment (Doc. No. 238) is deemed to be a second § 2255 Motion and is DISMISSED

pursuant to 28 U.S.C. § 2255(h) for lack of preauthorization from the Eighth Circuit

Court of Appeals.

Dated: May 17, 2017
                                                  s/Richard H. Kyle
                                                  RICHARD H. KYLE
                                                  United States District Judge


1
  Even if Jones’ Motion were properly before the Court, the Court would deny it on the
merits for the reasons set forth in the Government’s opposition. The Court finds Russell
Barnes’ partial recantation to be both untimely and unreliable. Even assuming the truth
of the recantation, Jones is no better off from it because his trial jury never heard the
information that Russell Barnes has now purportedly recanted due to the Bruton redaction
of his statement employed at trial.
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